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7
8                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
9
10   Scott Johnson                              Case No.
11            Plaintiff,
12                                              Complaint For Damages And
        v.                                      Injunctive Relief ForViolations
13                                              Of: Americans With Disabilities
     Hon Management, Inc., a                    Act; Unruh Civil Rights Act
14
     California Corporation;
15   Allfo One Korea, LLC, a California
16   Limited Liability Company
17            Defendants.
18
19           Plaintiff Scott Johnson complains of Hon Management, Inc., a
20   California Corporation; Allfo One Korea, LLC, a California Limited Liability
21   Company; and alleges as follows:
22
23
       PARTIES:
24
       1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
25
     level C-5 quadriplegic. He cannot walk and also has significant manual
26
     dexterity impairments. He uses a wheelchair for mobility and has a specially
27
     equipped van.
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1      2. Defendant Hon Management, Inc. owned the real property located at
2    or about 595 E El Camino Real, Sunnyvale, California, between October
3    2020 and February 2021.
4      3. Defendant Hon Management, Inc. owns the real property located at or
5    about 595 E El Camino Real, Sunnyvale, California, currently.
6      4. Defendant Allfo One Korea, LLC owned 10 Butchers Korean BBQ
7    located at or about 595 E El Camino Real, Sunnyvale, California, between
8    October 2020 and February 2021.
9      5. Defendant Allfo One Korea, LLC owns 10 Butchers Korean BBQ
10   (“Restaurant”) located at or about 595 E El Camino Real, Sunnyvale,
11   California, currently.
12     6. Plaintiff does not know the true names of Defendants, their business
13   capacities, their ownership connection to the property and business, or their
14   relative responsibilities in causing the access violations herein complained of,
15   and alleges a joint venture and common enterprise by all such Defendants.
16   Plaintiff is informed and believes that each of the Defendants herein is
17   responsible in some capacity for the events herein alleged, or is a necessary
18   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
19   the true names, capacities, connections, and responsibilities of the
20   Defendants are ascertained.
21
22     JURISDICTION & VENUE:
23     7. The Court has subject matter jurisdiction over the action pursuant to
24   28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans
25   with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
26     8. Pursuant to supplemental jurisdiction, an attendant and related cause
27   of action, arising from the same nucleus of operative facts and arising out of
28   the same transactions, is also brought under California’s Unruh Civil Rights


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1    Act, which act expressly incorporates the Americans with Disabilities Act.
2      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
3    founded on the fact that the real property which is the subject of this action is
4    located in this district and that Plaintiff's cause of action arose in this district.
5
6      FACTUAL ALLEGATIONS:
7      10. Plaintiff went to the Restaurant in October 2020 with the intention to
8    avail himself of its goods or services motivated in part to determine if the
9    defendants comply with the disability access laws. Not only did Plaintiff
10   personally encounter the unlawful barriers in October 2020, but he wanted
11   to return and patronize the business several times but was specifically
12   deterred due to his actual personal knowledge of the barriers gleaned from
13   his encounter with them.
14     11. The Restaurant is a facility open to the public, a place of public
15   accommodation, and a business establishment.
16     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
17   to provide wheelchair accessible dining surfaces in conformance with the
18   ADA Standards as it relates to wheelchair users like the plaintiff.
19     13. The Restaurant provides dining surfaces to its customers but fails to
20   provide wheelchair accessible dining surfaces.
21     14. One problem that plaintiff encountered is the lack of sufficient knee or
22   toe clearance under the outside dining surfaces for wheelchair users.
23     15. Plaintiff believes that there are other features of the dining surfaces
24   that likely fail to comply with the ADA Standards and seeks to have fully
25   compliant dining surfaces available for wheelchair users.
26     16. On information and belief the defendants currently fail to provide
27   wheelchair accessible dining surfaces.
28     17. These barriers relate to and impact the plaintiff’s disability. Plaintiff


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1    personally encountered these barriers.
2      18. Even though the plaintiff did not encounter the barrier, defendants
3    place dining tables in front of and on the parking space marked and reserved
4    for persons with disabilities.
5      19. As a wheelchair user, the plaintiff benefits from and is entitled to use
6    wheelchair accessible facilities. By failing to provide accessible facilities, the
7    defendants denied the plaintiff full and equal access.
8      20. The failure to provide accessible facilities created difficulty and
9    discomfort for the Plaintiff.
10     21. The defendants have failed to maintain in working and useable
11   conditions those features required to provide ready access to persons with
12   disabilities.
13     22. The barriers identified above are easily removed without much
14   difficulty or expense. They are the types of barriers identified by the
15   Department of Justice as presumably readily achievable to remove and, in
16   fact, these barriers are readily achievable to remove. Moreover, there are
17   numerous alternative accommodations that could be made to provide a
18   greater level of access if complete removal were not achievable.
19     23. Plaintiff will return to the Restaurant to avail himself of its goods or
20   services and to determine compliance with the disability access laws once it
21   is represented to him that the Restaurant and its facilities are accessible.
22   Plaintiff is currently deterred from doing so because of his knowledge of the
23   existing barriers and his uncertainty about the existence of yet other barriers
24   on the site. If the barriers are not removed, the plaintiff will face unlawful and
25   discriminatory barriers again.
26     24. Given the obvious and blatant nature of the barriers and violations
27   alleged herein, the plaintiff alleges, on information and belief, that there are
28   other violations and barriers on the site that relate to his disability. Plaintiff


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1    will amend the complaint, to provide proper notice regarding the scope of this
2    lawsuit, once he conducts a site inspection. However, please be on notice that
3    the plaintiff seeks to have all barriers related to his disability remedied. See
4    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
5    encounters one barrier at a site, he can sue to have all barriers that relate to
6    his disability removed regardless of whether he personally encountered
7    them).
8
9    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
10   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
11   Defendants.) (42 U.S.C. section 12101, et seq.)
12     25. Plaintiff re-pleads and incorporates by reference, as if fully set forth
13   again herein, the allegations contained in all prior paragraphs of this
14   complaint.
15     26. Under the ADA, it is an act of discrimination to fail to ensure that the
16   privileges, advantages, accommodations, facilities, goods and services of any
17   place of public accommodation is offered on a full and equal basis by anyone
18   who owns, leases, or operates a place of public accommodation. See 42
19   U.S.C. § 12182(a). Discrimination is defined, inter alia, as follows:
20            a. A failure to make reasonable modifications in policies, practices,
21                or procedures, when such modifications are necessary to afford
22                goods,    services,    facilities,   privileges,   advantages,   or
23                accommodations to individuals with disabilities, unless the
24                accommodation would work a fundamental alteration of those
25                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
26            b. A failure to remove architectural barriers where such removal is
27                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
28                defined by reference to the ADA Standards.


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1             c. A failure to make alterations in such a manner that, to the
2                 maximum extent feasible, the altered portions of the facility are
3                 readily accessible to and usable by individuals with disabilities,
4                 including individuals who use wheelchairs or to ensure that, to
5                 the maximum extent feasible, the path of travel to the altered
6                 area and the bathrooms, telephones, and drinking fountains
7                 serving the altered area, are readily accessible to and usable by
8                 individuals with disabilities. 42 U.S.C. § 12183(a)(2).
9      27. When a business provides facilities such as dining surfaces, it must
10   provide accessible dining surfaces.
11     28. Here, accessible dining surfaces have not been provided in
12   conformance with the ADA Standards.
13     29. When a business provides parking for its customers, it must provide
14   accessible parking.
15     30. Here, accessible parking has not been provided in conformance with
16   the ADA Standards.
17     31. The Safe Harbor provisions of the 2010 Standards are not applicable
18   here because the conditions challenged in this lawsuit do not comply with the
19   1991 Standards.
20     32. A public accommodation must maintain in operable working condition
21   those features of its facilities and equipment that are required to be readily
22   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
23     33. Here, the failure to ensure that the accessible facilities were available
24   and ready to be used by the plaintiff is a violation of the law.
25
26   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
27   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
28   Code § 51-53.)


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1      34. Plaintiff repleads and incorporates by reference, as if fully set forth
2    again herein, the allegations contained in all prior paragraphs of this
3    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
4    that persons with disabilities are entitled to full and equal accommodations,
5    advantages, facilities, privileges, or services in all business establishment of
6    every kind whatsoever within the jurisdiction of the State of California. Cal.
7    Civ. Code §51(b).
8      35. The Unruh Act provides that a violation of the ADA is a violation of the
9    Unruh Act. Cal. Civ. Code, § 51(f).
10     36. Defendants’ acts and omissions, as herein alleged, have violated the
11   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of,
12   Plaintiff’s rights to full and equal use of the accommodations, advantages,
13   facilities, privileges, or services offered.
14     37. Because the violation of the Unruh Civil Rights Act resulted in
15   difficulty, discomfort or embarrassment for the plaintiff, the defendants are
16   also each responsible for statutory damages, i.e., a civil penalty. (Civ. Code §
17   55.56(a)-(c).)
18     38. Although the plaintiff encountered frustration and difficulty by facing
19   discriminatory barriers, even manifesting itself with minor and fleeting
20   physical symptoms, the plaintiff does not value this very modest physical
21   personal injury greater than the amount of the statutory damages.
22
23          PRAYER:
24          Wherefore, Plaintiff prays that this Court award damages and provide
25   relief as follows:
26       1. For injunctive relief, compelling Defendants to comply with the
27   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
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1    plaintiff is not invoking section 55 of the California Civil Code and is not
2    seeking injunctive relief under the Disabled Persons Act at all.
3        2. For equitable nominal damages for violation of the ADA. See
4    Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
5    and any other equitable relief the Court sees fit to grant.
6        3. Damages under the Unruh Civil Rights Act, which provides for actual
7    damages and a statutory minimum of $4,000 for each offense.
8        4. Reasonable attorney fees, litigation expenses and costs of suit,
9    pursuant to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
10
11   Dated: March 22, 2021             CENTER FOR DISABILITY ACCESS
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13
                                       By: _______________________
14
                                             Amanda Seabock, Esq.
15                                           Attorney for plaintiff
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